            Case 1:15-bk-10336-MB                             Doc 16 Filed 04/18/15 Entered 04/18/15 18:43:10                                Desc
                                                               Main Document     Page 1 of 5
 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email Address                FOR COURT USE ONLY
 Donald Iwuchuku, Esq.
 Law Offices of Donald Iwuchuku
 21550 Oxnard St., 3rd Fl.
 Woodland Hills, CA 91367
 888.588.1294 Fax: 888.441.8493
 California State Bar Number: 181726
 donaldiwuchuku@gmail.com
       Debtor(s) appearing without an attorney
       Attorney for Debtor(s)

                                                            UNITED STATES BANKRUPTCY COURT
                                                                 CENTRAL DISTRICT OF CALIFORNIA

 In re                                                                                               CASE NO.: 1:15-bk-10336-AA
          Alicia Quezada - Escobar
                                                                                                     CHAPTER: 13


                                                                                                     DECLARATION SETTING FORTH POST
                                                                                                     PETITION, PRECONFIRMATION
                                                                                                     PAYMENTS ON:
                                                                                                     1. DEEDS OF TRUST [OR MORTGAGES]
                                                                                                     2. LEASES ON PERSONAL PROPERTY;
                                                                                                     3. PURCHASE MONEY SECURITY LIENS
                                                                                                     ON PERSONAL PROPERTY
                                                                                                     [LBR 3015-1(e) and LBR 3015-1(m)]

                                                                                                                     [No Hearing Required]
                                                                                        Debtor(s).



I, (Debtor's name), Alicia Quezada - Escobar , hereby declare:

1.       I am the debtor in this chapter 13 bankruptcy case that was filed on                            02/03/2015       .

2.       On the next page I have listed all the payments I have made to secured creditors and lessors since the filing of my
         Chapter 13 petition.

3.       I have provided the name of the secured creditor and/or lessor and the type of obligation to that secured creditor
         and/or lessor.

4.       I understand that I must update the information on the next page and keep it current until my plan is confirmed.




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5.      The following are the postpetition payments up to the date of plan confirmation (Payments) that I have caused to be
        mailed/delivered to the appropriate creditors (Creditor)1:

                                                                                                                                 Date
Property Description           Creditor/Type of Loan                               Payment Amount           Due Date2            Mailed/Delivered
11926 Blythe St.               Name of Creditor (printed):                         $2,548.37                  04/01/2015          04/16/2015
North Hollywood, CA             QUICKEN LOANS
                               (check one)
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):
                               Name of Creditor (printed):

                               (check one)
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):
                               Name of Creditor (printed):

                               (check one
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):
                               Name of Creditor (printed):

                               (check one)
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):


1
    Attach additional pages if necessary.
2
    "Due Date" refers to the 1st day the Payment is due.




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                                                                                                                                 Date
Property Description           Creditor/Type of Loan                               Payment Amount           Due Date3            Mailed/Delivered
                               Name of Creditor (printed):

                               (check one)
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):
                               Name of Creditor (printed):

                               (check one)
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):
                               Name of Creditor (printed):

                               (check one)
                                  Deed of Trust/Mortgage
                                  Car loan
                                  Lease
                                  Other (specify):

6.         Continued on Attached Page.

7.      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Dated:        April 16, 2015                                                                /s/ Alicia Quezada - Escobar
                                                                                            Alicia Quezada - Escobar
                                                                                            Debtor


3
    "Due Date" refers to the 1st day the Payment is due.




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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21550 Oxnard St., 3rd Fl.
Woodland Hills, CA 91367

A true and correct copy of the foregoing document entitled (specify): Declaration Setting Forth Post Petition, Preconfirmation
Payments On: Leases of Personal Property; Purchase Money Security Liens in Personal Property will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 04/16/2015 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:

Elizabeth (SV) F Rojas (TR) cacb_ecf_sv@ch13wla.com
United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

                                                                                    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 04/16/2015 , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

Alicia Quezada - Escobar
11926 Blythe St.
North Hollywood, CA 91605

Quicken Loans
1050 Woodward Ave.
Detroit, MI 48226

                                                                                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
April 16, 2015               Donald Iwuchuku, Esq. 181726                              /s/ Donald Iwuchuku, Esq.
Date                         Printed Name                                              Signature




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